     Case 1:23-cv-03026-TOR    ECF No. 107   filed 04/26/23   PageID.2331 Page 1 of 9


                                                                          FILED IN THE
                                                                      U.S. DISTRICT COURT

     RAÚL R. LABRADOR
                                                                EASTERN DISTRICT OF WASHINGTON
 1
      Attorney General                                    Apr 26, 2023
 2
     THEODORE J. WOLD (CA #289177)                          SEAN F. M AVOY, CLERK
                                                                             C


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11                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
12

13      STATE OF WASHINGTON, et al.,             Case No. 1:23-cv-03026

14         Plaintiffs,
              v.
15

16      UNITED STATES FOOD AND DRUG
        ADMINISTRATION, et al.                      NOTICE OF APPEAL
17
           Defendants,
18

19      STATE OF IDAHO; STATE OF
        IOWA; STATE OF MONTANA;
20      STATE OF NEBRASKA; STATE OF
        SOUTH CAROLINA; STATE OF
21
        TEXAS; STATE OF UTAH,
22
           Plaintiffs-Intervenors,
23

24

     STATE INTERVENORS’
     NOTICE OF APPEAL                        1           ATTORNEY GENERAL OF IDAHO
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 1           The States of Idaho, Iowa, Montana, Nebraska, South Carolina,
 2
     Texas, and Utah (“State Intervenors”) hereby appeal to the United
 3
     States Court of Appeals for the Ninth Circuit from the Order Denying
 4

 5
     State Intervenors’ Motion to Intervene, Dkt. #104, entered April 21,

 6   2023.

 7           Pursuant to Ninth Circuit Rule 3-2, State Intervenors’ Represen-
 8
     tation Statement is attached hereto.
 9

10   Dated: April 26, 2023

11
                                        /s/ Lincoln Davis Wilson_______
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     STATE INTERVENORS’
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     Case 1:23-cv-03026-TOR   ECF No. 107   filed 04/26/23   PageID.2333 Page 3 of 9




 1
                          CERTIFICATE OF SERVICE
 2
           I hereby certify that, on April 26, 2023, I electronically filed the
 3
     foregoing with the Clerk of the Court using the CM/ECF system, which
 4

 5   will send notification of such filing to all counsel of record.

 6

 7
                                         /s/Lincoln Davis Wilson____________
 8                                       LINCOLN DAVIS WILSON (WA #53764)
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     STATE INTERVENORS’
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 1
                RULE 3-2 REPRESENTATION STATEMENT
 2        Pursuant to Ninth Circuit Rule 3-2(b) and in satisfaction of Fed-
 3   eral Rule of Appellate Procedure 12(b), State Intervenors provide the
 4   following statement of the parties to this appeal and their respective

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     STATE INTERVENORS’
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     Case 1:23-cv-03026-TOR   ECF No. 107      filed 04/26/23   PageID.2336 Page 6 of 9




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     STATE INTERVENORS’
     NOTICE OF APPEAL                       9           ATTORNEY GENERAL OF IDAHO
